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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


    ADRIENNE J. LA WREN CE,

                                       Plaintiff,
                                                          Case No.: 18-CV-00383(SRU)
                           -against-

    ESPN, INC., MARGARET GREEN, in her
    individual and professional capacities, DONNA
    HRICISKO, in her individual and professional         STIPULATION OF
    capacities, ROBERT GALLO, in his individual          VOLUNTARY DISMISSAL
    and professional capacities, and JOHN                PURSUANT TO F.R.C.P.
    OBRINGER, in his individual and professional         41(a)(l)(A)(ii)
    capacities,

                                       Defendants.


       IT IS HEREBY STIPULATED AND AGREED, by and between the parties and/or their

respective counsel(s) that the above-captioned action is voluntarily dismissed in its entirety, with

prejudice and without costs to either patiy, pursuant to the F.R.C.P. 41(a)(l)(A)(ii).

Dated: December 12, 2019

WIGDORLLP                                               PAUL HASTINGS LLP


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  · Michael J. Willemin                                        Patrick W. Shea
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